          Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 1 of 10



1    ASCENSION LAW GROUP
     PAMELA TSAO (SBN: 266734)
2    12341 Newport Ave
     Suite B200
3    North Tustin, CA 92705
     PH: 714.783.4220
4    FAX: 888.505.1033
     Pamela.Tsao@ascensionlawgroup.com
5
     Attorneys for Plaintiff Ngoc Lam Che
6

7

8                                UNITED STATES DISTRICT COURT

9                               NORTHERN DISTRICT OF CALIFORNIA

10

11   NGOC LAM CHE, an individual                  Case No: 5:23-cv-04304

12                 Plaintiff,                     COMPLAINT FOR
13          vs.                                      (1) VIOLATION OF THE UNRUH
14   KENZO PROPERTIES, LLC, a limited liability          CIVIL RIGHTS ACT (CALIFORNIA
     company;                                            CIVIL CODE §§ 51, 52);
15                                                   (2) VIOLATIONS OF THE
16                 Defendants.                           AMERICANS WITH DISABILITIES
                                                         ACT OF 1990
17

18

19

20

21

22

23

24

25

26

27

28



                                            COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 2 of 10



1                                                    I.
                                                  SUMMARY
2

3              1.    This is a civil rights action by Plaintiff Ngoc Lam Che (“Plaintiff”) for discrimination

4    at the building, structure, facility, complex, property, land, development, and/or surrounding

5    business complex bearing the legal address of: 5465 Snell Ave., San Jose, California 95123 (the

6    “Property”), from which the “KENZO SUSHI” operates. Plaintiff frequents lives approximately 15

7    minutes from the Property and the restaurant is conveniently located.

8              2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees and costs

9    pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§ 12101, et seq.) and related

10   California statutes 1 against Defendant, the tenant and owner of the Property, KENZO

11   PROPERTIES, LLC, a limited liability company (“Defendant”).

12                                                          II.

13                                              JURISDICTION

14             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343 for ADA

15   claims.

16             4.    Supplemental jurisdiction for claims brought under parallel California law – arising

17   from the same nucleus of operative facts – is predicated on 28 U.S.C § 1367.

18             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.

19                                                   III.

20                                                   VENUE

21             6.    All actions complained of herein take place within the jurisdiction of the United

22   States District Court, Northern District of California, and venue is invoked pursuant to 28 U.S.C. §

23   1391(b), (c).

24                                                   IV.

25                                                  PARTIES

26             7.    Defendant is, or was at the time of the incident, the owner, operator, lessor and/or

27
     1
28    Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                        1
                                                 COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 3 of 10



1
     lessee of the Property, and consists of a person (or persons), firm, company, and/or corporation.
2
            8.       Plaintiff is a T-6 paraplegic, and as a result is unable to walk or stand, and thus
3
     requires a use of a wheelchair at all times when traveling in public. Plaintiff is “physically disabled”
4
     as defined by all applicable California and United States laws, and a member of the public whose
5
     rights are protected by these laws.
6
                                                      V.
7
                                                      FACTS
8
            9.       On April 4, 2023, Plaintiff attempted to patronize the Property. The Property is a
9
     sales or retail establishment, open to the public, which is intended for nonresidential use and whose
10
     operation affects commerce.
11
            10.      Plaintiff visited the Property and encountered barriers (both physical and intangible)
12
     that interfered with – if not outright denied – Plaintiff’s ability to use and enjoy the goods, services,
13
     privileges and accommodations offered at the facility. To the extent known by Plaintiff, the barriers
14
     at the Property included, but are not limited to the following:
15
                  a. Accessible parking spaces have missing and/or incorrect warning signage at the
16
                     parking facilities thus making it difficult for Plaintiff to determine which spaces are
17
                     intended for and will accommodate disabled persons. Specifically, accessible parking
18
                     spaces are not clearly marked with vertical signage to clearly indicate that such
19
                     spaces are reserved for persons with disabilities. Without clear signage, it becomes
20
                     difficult for Plaintiff to determine which spaces are intended for and will
21
                     accommodate persons with disabilities. This is further exacerbated by the fact that
22
                     the pavement markings at the Property are severely faded thus making it nearly
23
                     impossible to determine which spaces are intended for accessible parking.
24

25                b. The restrooms serving the Property are not properly configured, including but limited
26                   to under the sink piping that is not properly covered. As a result, Plaintiff cannot

27                   comfortably reach the sink to wash his hands, for fear of burning his legs on the
                     uncovered piping.
28
                                                           2
                                                  COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 4 of 10



1                  c. The restrooms do not contain the required signage to indicate that the restrooms are
2                     accessible.

3            11.      These barriers to access are listed without prejudice to Plaintiff citing additional
4    barriers to access after inspection by Plaintiff’s access consultant, per the 9th Circuits standing
5    standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008). These barriers prevented
6    Plaintiff from enjoying full and equal access to the Property.
7            12.      Plaintiff thus experienced difficulty, discomfort and embarrassment, from visiting the
8    Property and/or otherwise was deterred from visiting the Property because of the accessible barriers.
9    Plaintiff would patronize the Property once the barriers are removed as he desires to patronize the
10   businesses located on the Property. Within twelve months of the correction and/or removal of the
11   barriers, Plaintiff would return to the Property to not only patronize the restaurant at the Property but
12   also to ensure the Property’s compliance with the ADA.
13           13.      On information and belief, Plaintiff alleges that Defendant knew that these elements
14   and areas of the Property were inaccessible, violate state and federal law, and interfere with (or
15   deny) access to the physically disabled. Moreover, Defendant has the financial resources to remove
16   these barriers from the Property (without much difficult or expense), and make the Property
17   accessible to the physically disabled. To date, however, the Defendant refuses to remove those
18   barriers.
19           14.      At all relevant times, Defendant has possessed and enjoyed sufficient control and
20   authority to modify the Property to remove impediments to wheelchair access and to comply with
21   the Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations. Defendant
22   has not removed such impediments and has not modified the Property to conform to accessibility
23   standards.
24   ///
25   ///
26   ///
27   ///
28
                                                          3
                                                   COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 5 of 10



1
                                                      VI.
2
       FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW INCLUDING: THE
3
     UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE AMERICANS WITH DISABILITIES ACT
4
                          AS INCORPORATED BY CIVIL CODE SECTION 51(f)
5
            15.      Plaintiff incorporates the allegations contained in paragraphs 1 through 14 for this
6
     claim and incorporates them herein.
7
            16.      At all times relevant to this complaint, California Civil Code § 51 has provided that
8
     physically disabled persons are free and equal citizens of the state, regardless of disability or medical
9
     condition:
10
            All persons within the jurisdiction of this state are free and equal, and no matter
11
            what their sex, race, color, religion, ancestry, national origin, disability, or
12
            medical condition are entitled to the full and equal accommodations, advantages,
13
            facilities, privileges, or services in all business establishments of every kind
14
            whatsoever. Cal. Civ. Code § 51(b).
15
            17.      California Civil Code § 52 provides that the discrimination by Defendant against
16
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-discrimination provisions of
17
     §§ 51 and 52.
18
            18.      Defendant’s discrimination constitutes a separate and distinct violation of California
19
     Civil Code § 52 which provides that:
20
            Whoever denies, aids or incites a denial, or makes any discrimination or
21
            distinction contrary to section 51, 51.5 or 51.6 is liable for each and every offense
22
            for the actual damages, and any amount that may be determined by a jury, or a
23
            court sitting without a jury, up to a maximum of three times the amount of actual
24
            damage but in no case less than four thousand dollars ($4,000) and any attorney’s
25
            fees that may be determined by the court in addition thereto, suffered by any
26
            person denied the rights provided in Section 51, 51.5 or 51.6.
27
            19.      Any violation of the Americans with Disabilities Act of 1990 (as pled in the Second
28
                                                          4
                                                  COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 6 of 10



1
     Cause of Action) constitutes a violation of California Civil Code § 51(f) thus independently
2
     justifying an award of damages and injunctive relief pursuant to California law. Per § 51(f), “[a]
3
     violation of the right of any individual under the Americans with Disabilities Act of 1990 … shall
4
     also constitute a violation of this section.”
5
             20.     Plaintiff continues to be deterred from visiting the Subject Property based upon the
6
     existence of the accessible barriers. In addition to the occurrence in April 2023 Plaintiff is also
7
     entitled to $4,000.00 in statutory damages for each additional occurrence of discrimination under
8
     California Civil Code § 52, which continue to occur during the course of this action.
9
             21.     The actions and omissions of Defendant as herein alleged constitute a denial of access
10
     to and use of the described public facilities by physically disabled persons within the meaning of
11
     California Civil Code §§ 51 and 52. As a proximate result of Defendant’s action and omissions
12
     Defendant has discriminated against Plaintiff in a violation of Civil Code §§ 51 and 51.
13

14
                                                       VII.
15
              SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
16
                           DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
17
             22.     Plaintiff incorporates the allegations contained in paragraphs 1 through 20 for this
18
     claim and incorporates them herein.
19
             23.     As part of the Americans with Disabilities Act of 1990 (“ADA”), Congress passed
20
     “Title III – Public Accommodations and Services Operated by Private Entities.” 42 U.S.C. § 12181
21
     et seq. The Property is one of the “private entities” which are considered “public accommodations”
22
     for purposes of this title, which includes any “restaurant, bar, or other sales or rental establishment
23
     serving food or drink.” § 301(7)(B).
24
             24.     The ADA states that “[n]o individual shall be discriminated against on the basis of
25
     disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
26
     accommodations of any place of public accommodation by any person who owns, leases, or leases
27
     to, or operates a place of public accommodation.” 42 U.S.C. § 12182.
28
                                                         5
                                                     COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 7 of 10



1
             25.     The acts and omissions of Defendant set forth herein were in violation of Plaintiff's
2
     rights under the ADA and the regulations promulgated thereunder, 28 CFR Part 36 et seq.
3
             26.     The removal of each of the barriers complained of by Plaintiff as hereinabove alleged,
4
     were at all times herein mentioned "readily achievable" under the standards §§ 30 l and 302 of the
5
     ADA. As noted hereinabove, removal of each and every one of the architectural barriers complained
6
     of herein were also required under California law. Further, on information and belief, alterations,
7
     structural repairs or additions since January 26, 1993 have also independently triggered requirements
8
     for removal of barriers to access for disabled persons per § 303 of the ADA. In the event that
9
     removal of any barrier is found to be "not readily achievable," Defendant still violated the ADA,
10
     per§ 302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
11
     accommodations through alternative methods that were readily achievable.
12
             27.     On information and belief, as of the date of Plaintiff’s encounter at the Property and
13
     as of the filing of this Complaint, the Defendant has denied and continues to deny full and equal
14
     access to Plaintiff and to other disabled persons, including wheelchair users, in other respects, which
15
     violate Plaintiff's rights to full and equal access and which discriminate against Plaintiff on the basis
16
     of his disability, thus wrongfully denying to Plaintiff the full and equal enjoyment of the goods,
17
     services, facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303 of the
18
     ADA. 42 USC§§ 12182 and 12183.
19
             28.     On information and belief, Defendant has continued to violate the law and deny the
20
     rights of Plaintiff and other disabled persons to access this public accommodation since on or before
21
     Plaintiff's encounters, as previously noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq.,
22
     Plaintiff is entitled to the remedies and procedures set forth in§ 204(a) of the Civil Rights Act of
23
     1964, 42 USC 2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
24
     in violation of the ADA or has reasonable grounds for believing that he is about to be subjected to
25
     discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b )(2)(A)(iv) and § 303(a) ...
26
     injunctive relief shall include an order to alter facilities to make such facilities readily accessible to
27
     and usable by individuals with disabilities to the extent required by this title."
28
                                                          6
                                                  COMPLAINT
           Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 8 of 10



1
              29.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil Rights Act
2
     of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations adopted to implement the
3
     Americans with Disabilities Act of 1990. Plaintiff is a qualified disabled person for purposes of §
4
     308(a) of the ADA who is being subjected to discrimination on the basis of disability in violation of
5
     Title III and who has reasonable grounds for believing he will be subjected to such discrimination
6
     each time that he may attempt to use the Property and premises.
7

8
                                                    PRAYER
9
              WHEREFORE, Plaintiff prays that this court award damages and provide relief as follows:
10
        1. Issue a preliminary and permanent injunction directing Defendant as current owners,
11
     operators, lessors, and/or lessees of the Property and premises to modify the above described
12
     Property and premises and related facilities so that each provides full and equal access to all persons,
13
     including but not limited to persons with physical disabilities who use wheelchairs, and issue a
14
     preliminary and permanent injunction directing Defendant to provide and maintain facilities usable
15
     by Plaintiff and similarly situated persons with disabilities, and which provide full and equal access,
16
     as required by law, including appropriate changes in policy;
17
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied that
18
     Defendant’s unlawful policies, practices, acts and omissions, and maintenance of inaccessible public
19
     facilities as complained of herein no longer occur, and can not recur;
20
        3. Award to statutory damages of $4,000 for each occurrence of deterrence or discrimination
21
     experienced by Plaintiff until a final judgment is rendered in this case, all according to proof;
22
        4. Award to Plaintiff all appropriate damages, including but not limited to statutory damages,
23
     general damages and treble damages in amounts within the jurisdiction of this Court, all according to
24
     proof;
25
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and costs of this
26
     proceeding as provided by law;
27
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§ 3291;
28
                                                         7
                                                 COMPLAINT
       Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 9 of 10



1
     7. Grant such other and further relief as this Court may deem just and proper.
2

3                                            ASCENSION LAW GROUP, PC

4      DATE: August 23, 2023

5                                                 _____/s/ Pamela Tsao__

6                                            Pamela Tsao, attorney for Plaintiff

7                                                     Ngoc Lam Che

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                  8
                                           COMPLAINT
     Case 5:23-cv-04304-VKD Document 1 Filed 08/23/23 Page 10 of 10



1                                DEMAND FOR JURY TRIAL
2     Plaintiff hereby demands a jury for all claims for which a jury is permitted.
3

4
                                            ASCENSION LAW GROUP, PC
5
     DATE: August 23, 2023
6
                                                _____/s/ Pamela Tsao___
7
                                           Pamela Tsao, attorney for Plaintiff
8
                                                     Ngoc Lam Che
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                 9
                                          COMPLAINT
